                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION

 LORI NICHOLSON and WILLIS
 WILLIAM NICHOLSON,

               Plaintiffs,                           No. 18-CV-3057-CJW-KEM

 vs.
                                                               ORDER
 BIOMET, INC; BIOMET
 ORTHOPEDICS, LLC; BIOMET
 MANUFACTURING CORP.; and
 BIOMET U.S. RECONSTRUCTION,
 LLC,

               Defendants.

                               _____________________
        In compliance with the Court’s Trial Management Order for Civil Jury Trials, the
parties each filed notices of deposition designations. (Docs. 379 & 380). The parties
agree they have successfully worked with one another to reduce the number of objections
submitted to the Court. The parties also agree it is likely they will be able to resolve
some of the outstanding objections without the Court’s involvement, either through
agreements or because the testimony is no longer necessary. (Docs. 379, at 2 (“The
parties are continuing to meet and confer on these objections and anticipate reaching
further resolutions before the videos may be played.”); 380, at 2 (“[T]he parties are
working on a protocol to meet and confer on any objection or response thereto in advance
of playing a deposition.”)).
        Given the parties’ willingness to work with one another and their belief they will
be able to resolve more of the objections on their own, the Court finds it best to reserve
any ruling on the objections here. Thus, the Court holds in abeyance any decisions on




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the objections raised in the notices of deposition designations until trial. To keep trial
running smoothly, however, the parties must notify the Court and opposing counsel three
days before they anticipate they will play a video deposition. The parties need not file
an official notice, but should notify the Court at morning conferences before the jury is
brought in. The parties must then meet and confer to try and resolve objections. If the
parties cannot resolve all of the disputes, the objecting party must file its objections the
following day, i.e. two days before the deposition is expected to be presented. The Court
is aware of the uncertainties with timing at trial, but it expects the parties to do their best
to make sure they provide the Court with the necessary notice to rule on the objections.
        IT IS SO ORDERED this 6th day of November, 2020.


                                           __________________________________
                                           C.J. Williams
                                           United States District Judge
                                           Northern District of Iowa




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